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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

In re:                                        )      Case No. 15-53700-WLH
                                              )
BRENDA K. ROBERTSON,                          )      Chapter 7
                                              )
         Debtor.                              )
                                              )


                                 CERTIFICATE OF SERVICE

        This is to certify that I, Michael J. Bargar, am over the age of 18, and that on June 17,
2020, I caused to be served true and correct copies of the following documents:

(A) Notice of Hearing [Doc. No. 379]; and

(B) Notice of Hearings [Doc. No. 380]

by first class United States mail on the persons or entities at the addresses set forth on Exhibit
“A.”

         This 17th day of June, 2020.


                                             ARNALL GOLDEN GREGORY LLP
                                             Attorneys for Trustee

                                             By: /s/ Michael J. Bargar
                                                  Michael J. Bargar
                                                  Georgia Bar No. 645709
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                              EXHIBIT “A” FOLLOWS




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